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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                 4:07CR3036
                                         )
             V.                          )
                                         )
JOSE M. LLAMAS,                          )                   ORDER
                                         )
                    Defendant.           )
                                         )


      IT IS ORDERED that the plaintiff’s motion for dismissal of indictment without
prejudice (filing 123) is granted.

      DATED this 29 th day of August, 2011.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        United States District Judge
